Case 2:04-cr-20481-SH|\/| Document 16 Filed 04/25/05 Page 1 of 2 Page|D 19

IN THE UNITED sTATEs DISTRICT COURT ` '
FoR THE WESTERN DISTRJCT oF TENNESSEE l;_;_.;= 3 t 5a .;_
WESTERN DIVISION

   

UNITED STATES OF AMERICA

v.
04-20481-Ml
MARCUS BUFORD

 

ORDER ON ARRAIGNMENT

This cause carne to be heard on ` 22 200 , the United States Attomey
for this district appeared on behalf of the vernment, and the defendant appeared in person and with

counsel:

NAME % t 7>&//!/%&./4~_/ who is Retained/Appointed.

____-________

 

The defendant, through counsel, Waived formal arraignment and entered a plea ofnot guilty.
All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause

shown to a District Judge, such period is extended

he defendant, (not having e bond) (being a e prisoner) (being a federal prisoner)
(being held Without bond pursuan to BRA of 1984), is remanded to the custody of the U.S. Marshal.

L/~YQW\

UNITED STATES MAGISTRATE ]UDGE

The defendant, Who is not i;c;;lqst)dy, may stand on his sent bond.

 

CHARGES: l 8 :922(g)

U. S. Attorney assigned to Case: S. Hall

Ag@: § =:>.

Th`ls doetment entered on the docket sheet `m compliance
with R\rle 55 and/or 321bl FRCrP on “' ' 525

/La

 

 

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This notice confirms a copy of the document docketed as number 16 in
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Honorable Samuel Mays
US DISTRICT COURT

